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                                                                                   9:26 am, Feb 22 2021
                         THE UNITED STATES DISTRICT COURT                          AT BALTIMORE
                          FOR THE DISTRICT OF MARYLAND                             CLERK, U.S. DISTRICT COURT
                                                                                   DISTRICT OF MARYLAND
                                                                                   BY ______________Deputy
 IN THE MATTER OF THE SEARCH OF:
                                                                            1:21-mj-320 TMD
                                                            Misc. Case No. _____________
 ONE TARGET DEVICE IN THE UNITED
 STATES POSTAL INSPECTION SERVICE’S
 POSSESSION IN LINTHICUM HEIGHTS,
 MARYLAND

            AFFIDAVIT IN SUPPORT OF A SEARCH AND SEIZURE WARRANT

       I, Douglas Henegar, being duly sworn, depose and state the following:

                                           Introduction

       1.       Your Affiant makes this affidavit in support of an application under Federal Rule

of Criminal Procedure 41 for a search and seizure warrant authorizing the examination of one

cellular telephone, as fully described in Attachment A (collectively referred to as the “TARGET

DEVICE”), and the extraction of electronically stored information identified in Attachment B

from the TARGET DEVICE.

       2.       Your Affiant submits that probable cause exists to believe that (i) Barrington Albert

Edwards, Jr. (“EDWARDS”) engaged in drug trafficking activities in violation of 21 U.S.C. §

846; and (ii) the TARGET DEVICE contains fruits and evidence of drug trafficking activities, in

violation of 21 U.S.C. §§ 841(a)(1), 843(b), and 846.

                                      Affiant’s Background

       3.       Your Affiant is “an investigative or law enforcement officer . . . of the United

States” within the meaning of 18 U.S.C. § 2510(7)—that is, an officer of the United States of

America (“United States”) who is empowered by law to conduct investigations of, and to make

arrests for, offenses enumerated in 18 U.S.C. § 2516.
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       4.       Your Affiant has been a United States Postal Inspector since April 2012 and is

currently assigned to the United States Postal Inspection Service (“USPIS”) Narcotics Team. As

a United States Postal Inspector, your Affiant routinely investigates the use of the United States

mail to ship narcotics and narcotics proceeds from source areas, such as Florida, Georgia,

California, Arizona, Texas and Colorado, to the Baltimore/Washington, D.C. area and vice-versa.

       5.       In particular, your Affiant has participated in numerous drug trafficking

investigations during which he conducted or participated in surveillance of drug dealers and others

involved in drug trafficking; listened to hundreds of court-authorized intercepted phone calls

between individuals involved or suspected to be involved in drug trafficking activities; made

undercover purchases of drugs from drug dealers; applied for arrest and search warrants; executed

arrest and search warrants; seized evidence relating to drug trafficking, including substantial

quantities of narcotics, drug proceeds, and drug paraphernalia. In addition, your Affiant has

worked directly with confidential informants and sources to conduct controlled drug purchases;

debriefed them; and interviewed drug dealers and users about their lifestyles, appearances, and

habits. Moreover, your Affiant has reviewed taped conversations, documents, and other records

relating to drug trafficking and money laundering, including, but not limited to, buyers and sellers

lists and owe sheets or drug ledgers.

       6.       Based on your Affiant’s training and experience as a United States Postal Inspector,

your Affiant can identify various methods that drug traffickers regularly use to facilitate the

shipment of controlled substances and bulk cash through the United States mail. Specifically, your

Affiant is aware that narcotic traffickers regularly use Priority Mail Express and Priority Mail

services to ship controlled substances and bulk cash through the United States mail. Priority Mail

Express labels have multi-layered carbon copies: The top copy with original writing is always


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kept at the local post office; a second copy is given to the customer as a receipt; and a carbon copy

stays on the parcel.

       7.       Prior to being a United States Postal Inspector, your Affiant was a United States

Federal Air Marshall for ten (10) years. In that role, your Affiant primarily worked as a covert

law enforcement officer protecting air craft passengers and infrastructure from terrorist threats as

well as preventing the use of the airplane as a weapon of mass destruction.

       8.       Before his 10-year tenure as a United States Federal Air Marshall, your Affiant

served a one-year stint as a United States Bureau of Customs and Border Protection patrol officer.

In that capacity, your Affiant participated in alien-smuggling and drug interdictions at the

southwest border of the United States.

        9.      Based on your Affiant’s training, knowledge, and experience, he has become

familiar with the following: (1) the manner in which drug traffickers (a) transport, store, and

distribute drugs, (b) collect, keep, and conceal the proceeds of their illegal activities; and (2) the

ways in which drug traffickers (a) use cellular telephones, cellular telephone technology, coded

communications or slang during drug-related conversations, and (b) other means to facilitate their

illegal activities and thwart law enforcement investigations.

       10.      Specifically, based on your Affiant’s training, knowledge, and experience, your

Affiant has learned the following:

                   a. Narcotics trafficking is an ongoing and recurring criminal activity. As
                      contrasted with crimes against persons, which tend to be discrete offenses,
                      narcotics trafficking is an illicit commercial activity that is characterized by
                      regular, repeated criminal activity.

                   b. Narcotics traffickers commonly compartmentalize members of their
                      organization into discrete “cells,” with specific members, responsibilities,
                      and/or geographical territories assigned to each cell, and members of one
                      cell commonly receive information only about that specific cell’s criminal

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                      activities. Consequently, this limitation of information frustrates law
                      enforcement efforts to dismantle the entire organization.

                  c. Cellular telephones are indispensable tools of the narcotics trafficking trade.
                     Narcotics traffickers use cellular telephones, push-to-talk telephones, Short
                     Message Service (“SMS”), electronic mail, and other, similar electronic
                     means and/or devices to maintain contact with co-conspirators and other
                     narcotics traffickers.

                  d. Narcotics traffickers commonly maintain books, records, receipts, notes,
                     ledgers, bank records, money orders, and other papers relating to the
                     importation, manufacture, transportation, ordering, sale, and distribution of
                     narcotics. Narcotics traffickers maintain the aforementioned enumerated
                     items where they have ready access to them, such as in secured locations
                     within their residence, the residences of their friends, family members, and
                     associates, or their drug distribution locations. Due to the advancement in
                     technology, narcotics traffickers may use cellular telephones to store those
                     records.

                  e. Narcotics traffickers usually take, or cause to be taken, photographs of
                     themselves, their associates, their property, and illegal contraband. Drug
                     traffickers usually maintain these photographs where they can readily
                     access them, such as their cellular telephones.

                  f. Narcotics traffickers often use cellular telephones to maintain their co-
                     conspirators’ names and contact information, facilitate drug transactions,
                     and run their drug distribution operations.

                  g. Drug trafficking organizations utilize the United States mail as a means of
                     transporting narcotics and proceeds thereof to and from drug trafficking
                     organization (“DTO”) members. They use United States Priority Mail
                     Express and Priority Mail services to ship narcotics and bulk-cash narcotics
                     proceeds through the United States mail. Each United States Priority Mail
                     Express and Priority Mail parcel has a distinct tracking number, and an
                     individual with a tracking number can track the particular parcel online.
                     Packages shipped to or from narcotics source states—such as Arizona,
                     California, Texas, Washington, Colorado, and Florida—or territories—
                     such as Puerto Rico—can signify that the United States Priority Mail
                     Express and Priority Mail parcels contain narcotics or the proceeds thereof.

                                     Bases of Information

       11.     The information contained in this affidavit is based upon my personal knowledge

and observations as well as that of the other agents involved in this investigation. Those agents,

persons with knowledge of this investigation, related those observations to me. Because I submit
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this affidavit for the limited purpose of establishing probable cause for the requested search

warrant, I have not included every fact and matter observed by or made known to agents of the

government. Rather, I have set forth only those facts that I believe are necessary to establish

probable cause.

                                          Probable Cause

         12.   In early 2018, the United States Postal Inspection Service (“USPIS”) and the Drug

Enforcement Administration (“DEA”) began jointly investigating the importation of large cocaine

quantities from Puerto Rico to the United States. The USPIS identified certain United States

Priority Mail parcels destined for different states, but they had the following similarities: addresses

in heavy black magic marker, similar handwriting, no association between the senders’ and

recipients’ names and their listed addresses, and Puerto Rico as the place the packages entered the

mail stream. Among those United States Priority Mail parcels were the Florida Package, New

York Package 1, and New York Package 2, and Postal Inspectors seized two cocaine bricks from

the Florida Package, New York Package 1, and New York Package 2, weighing six kilograms in

total.

         13.   There were also Priority Mail parcels destined for Bowie, Maryland, and Upper

Marlboro, Maryland, with the aforementioned similarities (hereinafter “Subject Parcels”). As a

result, investigators conducted surveillance in connection with the Subject Parcels’ deliveries.

         14.   Among the DTO members that investigators identified based on physical

surveillance, other law enforcement tools, and cellphone extractions were, (i) Russell Stanley III

(“Stanley”), the DTO leader; (ii) EDWARDS, who worked closely with Stanley by serving as a

liaison between Stanley and USPS letter carriers who EDWARDS recruited to—and did--divert

United States Priority Mail parcels containing large quantities of cocaine to DTO members,



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coordinating the delivery of cocaine parcels by a USPS letter carrier, directly paying or having

others on his behalf paying a USPS letter carrier for diverting cocaine parcels to DTO members,

and providing Stanley with addresses along the assigned postal route of a collusive USPS letter

carrier; and (iii) Maurice Vaughn, a USPS letter carrier who diverted United States Priority Mail

parcels containing large quantities of cocaine to DTO members.

       15.     During this investigation, there were at least 8 kilograms of cocaine intended for

distribution seized during this conspiracy.

       16.     During the arrest of Stanley and other DTO members on October 9, 2019,

investigators seized several cellular telephones. From one of those cellular telephones search

pursuant to a federal search and seizure warrant, investigators extracted a text message exchange

between Vaughn, via cellphone number ending in 1028, and EDWARDS, via a cellphone number

ending in 8029, on January 19, 2020, beginning at approximately 9:00 a.m. Here is an excerpt of

that text message exchange:

       EDWARDS: Football should be in site.

         VAUGHN: Looking for the game ball.

       EDWARDS: Let me know. . . . Coach said football there.

         VAUGHN: Yup found the ball.

       EDWARDS: Good work tom. Time you running out tunnel with football. Want to catch
               an early Yo Brady.

Based on investigators’ training, knowledge, and experience, including their experience in this

investigation, investigators believe that, in vague, coded language, (1) EDWARDS informed

Vaughn that the United States Priority Mail parcel containing cocaine should be among the mail

that Vaughn would deliver along Vaughn’s assigned route that day; (2) Vaughn told EDWARDS

that Vaughn was checking to be sure; (3) EDWARDS asked Vaughn to confirm that Vaughn

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possessed the cocaine parcel as Stanley told Edwards that the cocaine parcel should be there; (4)

Vaughn confirmed that Vaughn found the cocaine parcel; and (5) EDWARDS indicated that he

would like for Vaughn to divert the cocaine parcel to a DTO member earlier than their usual

practice.

       17.      On October 21, 2020, a federal grand jury in the District of Maryland indicted, inter

alia, the defendant Edwards with conspiracy to distribute and possess with the intent to distribute

cocaine, in violation of 21 U.S.C. § 846; conspiracy to commit an offense against the United States,

in violation of 18 U.S.C. § 371; and bribery, in violation of 18 U.S.C. § 201(b)(1). On the same

day, Honorable J. Mark Coulson issued an arrest warrant for EDWARDS.

       18.      On January 6, 2021, investigators arrested EDWARDS in the District of New

Jersey. Pursuant to a search incident to arrest, investigators seized the TARGET DEVICE.

                                         Technical Terms

       19.      Based on my training and experience, your Affiant uses the following technical

terms to convey the following meanings:

               a.      Wireless telephone: A wireless telephone (or mobile telephone, or cellular
                       telephone) is a handheld wireless device used for voice and data
                       communication through radio signals. These telephones send signals
                       through networks of transmitter/receivers, enabling communication with
                       other wireless telephones or traditional “land line” telephones. A wireless
                       telephone usually contains a “call log,” which records the telephone
                       number, date, and time of calls made to and from the phone. In addition to
                       enabling voice communications, wireless telephones offer a broad range of
                       capabilities. These capabilities include: storing names and phone numbers
                       in electronic “address books;” sending, receiving, and storing text messages
                       and e-mail; taking, sending, receiving, and storing still photographs and
                       moving video; storing and playing back audio files; storing dates,
                       appointments, and other information on personal calendars; and accessing
                       and downloading information from the Internet. Wireless telephones may
                       also include Global Positioning System (“GPS”) technology for
                       determining the location of the device.




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    b.    Digital camera: A digital camera is a camera that records pictures as digital
          picture files, rather than by using photographic film. Digital cameras use a
          variety of fixed and removable storage media to store their recorded images.
          Images can usually be retrieved by connecting the camera to a computer or
          by connecting the removable storage medium to a separate reader.
          Removable storage media includes various types of flash memory cards or
          miniature hard drives. Most digital cameras also include a screen for
          viewing the stored images. This storage media can contain any digital data,
          including data unrelated to photographs or videos.

    c.    Portable media player: A portable media player (or “MP3 Player” or iPod)
          is a handheld digital storage device designed primarily to store and play
          audio, video, or photographic files. However, a portable media player can
          also store other digital data. Some portable media players can use
          removable storage media. Removable storage media includes various types
          of flash memory cards or miniature hard drives. This removable storage
          media can also store any digital data. Depending on the model, a portable
          media player may have the ability to store very large amounts of electronic
          data and may offer additional features such as a calendar, contact list, clock,
          or games.

    d.    GPS: A GPS navigation device uses the Global Positioning System to
          display its current location. It often contains records of the locations where
          it has been. Some GPS navigation devices can give a user driving or
          walking directions to another location. These devices can contain records
          of the addresses or locations involved in such navigation. The Global
          Positioning System consists of 24 NAVSTAR satellites orbiting the Earth.
          Each satellite contains an extremely accurate clock. Each satellite
          repeatedly transmits by radio a mathematical representation of the current
          time, combined with a special sequence of numbers. These signals are sent
          by radio, using specifications that are publicly available. A GPS antenna
          on Earth can receive those signals. When a GPS antenna receives signals
          from at least four satellites, a computer connected to that antenna can
          mathematically calculate the antenna’s latitude, longitude, and sometimes
          altitude with a high level of precision.

    e.    PDA: A personal digital assistant, or PDA, is a handheld electronic device
          used for storing data (such as names, addresses, appointments, or notes) and
          utilizing computer programs. Some PDAs also function as wireless
          communication devices and are used to access the Internet and send and
          receive e-mail. PDAs usually include a memory card or other removable
          storage media for storing data and a keyboard and/or touch screen for
          entering data. Removable storage media includes various types of flash
          memory cards or miniature hard drives. This removable storage media can
          store any digital data. Most PDAs run computer software, giving them
          many of the same capabilities as personal computers. For example, PDA

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                      users can work with word-processing documents, spreadsheets, and
                      presentations. PDAs may also include GPS technology for determining the
                      location of the device.

               f.     IP Address: An Internet Protocol address (or simply “IP address”) is a
                      unique numeric address used by computers on the Internet. An IP address
                      is a series of four numbers, each in the range 0-255, separated by periods
                      (e.g., 121.56.97.178). Every computer attached to the Internet must be
                      assigned an IP address so that Internet traffic sent from and directed to that
                      computer may be directed properly from its source to its destination. Most
                      Internet service providers control a range of IP addresses. Some computers
                      have static—that is, long-term—IP addresses, while other computers have
                      dynamic—that is, frequently changed—IP addresses.

               g.     Internet: The Internet is a global network of computers and other electronic
                      devices that communicate with each other. Due to the structure of the
                      Internet, connections between devices on the Internet often cross state and
                      international borders, even when the devices communicating with each
                      other are in the same state.

Based on your Affiant’s training, experience, and research, he knows that the TARGET DEVICE

has capabilities that allow them to serve as a wireless telephone, digital camera, portable media

player, GPS navigation device, and PDA, with the capability to access the Internet. In your

Affiant’s training and experience, examining data stored on a device of this type can uncover,

among other things, evidence that reveals or suggests who possessed or used the devices.

                           Electronic Storage and Forensic Analysis

       20.     Based on your Affiant’s knowledge, training, and experience, he knows that

electronic devices can store information for long periods of time. Similarly, things that have been

viewed via the Internet are typically stored for some period of time on such devices. This

information can sometimes be recovered with forensics tools.

       21.      Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only electronically stored information that might serve as direct evidence

of the crimes described on the warrant, but also forensic evidence that establishes how the



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TARGET DEVICE was used, the purpose of the TARGET DEVICE’s use, who used the

TARGET DEVICE, and when was the TARGET DEVICE used. There is probable cause to

believe that such forensic electronic evidence might be on the TARGET DEVICE because:

               a.     Data on the storage medium can provide evidence of a file that was once on
                      the storage medium but has since been deleted or edited, or of a deleted
                      portion of a file (such as a paragraph that has been deleted from a word
                      processing file).

               b.     Forensic evidence on a device can also indicate who has used or controlled
                      the device. This “user attribution” evidence is analogous to the search for
                      “indicia of occupancy” while executing a search warrant at a residence.

               c.     A person with appropriate familiarity with how an electronic device works
                      may, after examining this forensic evidence in its proper context, be able to
                      draw conclusions about how electronic devices were used, the purpose of
                      their use, who used them, and when were they used.

               d.     The process of identifying the exact electronically stored information on a
                      storage medium that is necessary to draw an accurate conclusion is a
                      dynamic process. Electronic evidence is not always data that can be merely
                      reviewed by a review team and passed along to investigators. Whether data
                      stored on a computer is evidence may depend on other information stored
                      on the computer and the application of knowledge about how a computer
                      behaves. Therefore, contextual information necessary to understand other
                      evidence also falls within the scope of the warrant.

               e.     Further, in finding evidence of how a device was used, the purpose of its
                      use, who used it, and when it was used, sometimes it is necessary to
                      establish that a particular thing is not present on a storage medium.

       22.     Nature of examination. Based on the foregoing, and consistent with Federal Rule

of Criminal Procedure 41(e)(2)(B), the warrant for which the Affiant is applying would permit the

examination of the TARGET DEVICE consistent with the warrant. The examination may require

authorities to employ techniques, including, but not limited to, computer-assisted scans of the

entire medium that might expose many parts of the TARGET DEVICE to human inspection in

order to determine whether it is evidence described by the warrant.




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       23.      Manner of execution. Because this warrant seeks only permission to examine a

device already in law enforcement’s possession, the execution of this warrant does not involve the

physical intrusion onto a premise. Consequently, your Affiant submits that there is reasonable

cause for the Court to authorize execution of the warrant at any time in the day or night.

       24.     Search and review protocol: With respect to the search of the information provided

pursuant to the requested warrant, law enforcement personnel will make reasonable efforts to use

methods and procedures that will locate and expose those categories of files, documents,

communications, or other electronically stored information that are identified with particularity in

the requested warrant while minimizing the review of information not within the list of items to

be seized as set forth in Attachment B, to the extent reasonably practicable. If the government

identifies any seized communications that may implicate the attorney-client privilege, law

enforcement personnel will discontinue its review and take appropriate steps to segregate

all potentially privileged information so as to protect it from substantive review. The investigative

team will take no further steps regarding any review of information so segregated absent further

order of the court. The investigative team may continue to review any information not segregated

as potentially privileged.

                                            Conclusion

       25.     Based on the foregoing, your Affiant respectfully submits that there is probable

cause to believe that (i) EDWARDS engaged in drug trafficking activities in violation of 21 U.S.C.

§ 846; and (ii) a search of the TARGET DEVICE, in accord with Attachment B, will uncover

evidence and fruits of drug trafficking activities, in violation of 21 U.S.C. §§ 841(a)(1), 843(b),

and 846.




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                                            Respectfully submitted,



                                            Douglas Henegar, Inspector
                                            U.S. Postal Inspection Service


Affidavit submitted by e-mail and attested to me as accurate by telephone consistent with Fed. R.
Crim. Proc. 4.1 and 41(d)(3) this ____ day of February, 2021


                                            ____________________________________
                                            Honorable Thomas M. DiGirolamo
                                            United States Magistrate Judge




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                            Attachment A: TARGET DEVICE

      The property to be searched is described as follows:

       ITEM                  DESCRIPTION                         SEIZURE LOCATION
                         white Apple iPhone with             The person of Barrington Albert
 TARGET DEVICE
                                silver trim                           Edwards, Jr.

      The TARGET DEVICE is in United States Postal Inspection Service’s possession in

Linthicum Heights, Maryland.
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                   Attachment B: Items to Be Seized from the TARGET DEVICE

       1.      This warrant authorizes the search and seizure of all records contained within the

devices described in Attachment A that constitute evidence of violations of 21 U.S.C. §§ 841(a)(1),

843(b), and 846 by Barrington Albert Edwards, Jr. and his known and unknown co-conspirators,

including, but not limited to, the following:

               a. images;

               b. videos;

               c. records of incoming and outgoing voice communications;

               d. records of incoming and outgoing text messages;

               e. the content of incoming and outgoing text messages;

               f. voicemails;

               g. e-mails;

               h. voice recordings;

               i. contact lists;

              j. data from third-party applications (including social media applications like
Facebook and Instagram and messaging programs like WhatsApp and Snapchat);

               k. location data;

               l. bank records, checks, credit card bills, account information, and other
financial records;

               m. evidence of who used, owned, or controlled the devices at the time the things
described in this warrant were created, edited, or deleted, such as logs, registry entries,
configuration files, saved usernames and passwords, documents, browsing history, user profiles,
email, email contacts, “chat,” instant messaging logs, photographs, and correspondence;

               n. evidence of software that would allow others to control the TARGET
DEVICE, such as viruses, Trojan horses, and other forms of malicious software, as well as
evidence of the presence or absence of security software designed to detect malicious software;
               o. evidence of the lack of such malicious software;



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               p. evidence of the attachment to the TARGET DEVICE of other storage devices
or similar containers for electronic evidence;

               q. evidence of counter forensic programs (and associated data) that are designed
to eliminate data from the TARGET DEVICE;

               r. evidence of the times the TARGET DEVICE was used;

             s. passwords, encryption keys, and other access devices that may be necessary to
access the TARGET DEVICE;

            t. documentation and manuals that may be necessary to access the TARGET
DEVICE or to conduct a forensic examination of the TARGET DEVICE; and

               u. contextual information necessary to understand the evidence described in this
attachment.

        2.     The search procedure of the electronic data for the items described in Paragraph 1
may include the following techniques (the following is a non-exhaustive list, and the Government
may use other procedures that, like those listed below, minimize the review of information not
within the list of items to be seized as set forth herein, while permitting the Government
examination of all the data necessary to determine whether the data falls within the items to be
seized):

               a.      surveying various file “directories” and the individual files they contain
(analogous to looking at the outside of a file cabinet for markings it contains and opening a drawer
believed to contain pertinent files);

               b.      “opening” or cursorily reading the first few “pages” of such files in order to
determine their precise contents;

               c.      “scanning” storage areas to discover and possible recover recently deleted
files;

               d.      “scanning” storage areas for deliberately hidden files; or

                e.       performing key word or other search and retrieval searches through all
electronic storage areas to determine whether occurrences of language contained in such storage
areas exist that are related to the subject matter of the investigation.

        3.        If after performing these procedures, the directories, files, or storage areas do not
reveal evidence of violations of 21 U.S.C. §§ 841(a)(1) and 846, the further search of that particular
directory, file, or storage area shall cease.

       4.     With respect to the search of the information provided pursuant to this warrant, law
enforcement personnel will make reasonable efforts to use methods and procedures that will locate
and expose those categories of files, documents, communications, or other electronically stored
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information that are identified with particularity in the warrant while minimizing the review of
information not within the list of items to be seized as set forth herein, to the extent reasonably
practicable. If the government identifies any seized communications that may implicate the
attorney-client privilege, law enforcement personnel will discontinue its review and take
appropriate steps to segregate all potentially privileged information so as to protect it from
substantive review. The investigative team will take no further steps regarding any review of
information so segregated absent further order of the court. The investigative team may continue
to review any information not segregated as potentially privileged.




                                                4
